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                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                  )
 STEVEN JIL,                                      )    Docket No. 2:16-cv-00466-GZS
                         Plaintiff                )
                                                  )
 v.                                               )
                                                  )
 COUNTY OF YORK and WILLIAM KING,                 )
                  Defendants                      )
                                                  )


                               STIPULATION OF DISMISSAL


       NOW COME the parties, through counsel, and hereby stipulate that the above-entitled

matter may be dismissed, with prejudice and without costs or interest to any party.


Dated: April 20, 2017                                  /s/ Robert A. Levine
                                                      Robert A. Levine, Esq.
                                                      Attorney for Plaintiff


Dated: April 20, 2017                                  /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Attorney for Defendants
Case 2:16-cv-00466-GZS Document 13 Filed 04/20/17 Page 2 of 2                     PageID #: 61




                           UNITED STATES DISTRICT COURT
                                   District of Maine


                               STEVEN JIL,       )
                        Plaintiff                )    Docket No. 2:16-cv-00466-GZS
                                                 )
 v.                                              )
                                                 )
 COUNTY OF YORK and WILLIAM KING,                )
                Defendants                       )
                                                 )
                                                 )

                               CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, Esq., attorney for the York County Defendants, hereby certify that:

       !      Stipulation of Dismissal

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Robert Levine, Esq.            lroberta@maine.rr.com


Dated: April 20, 2017                                 /s/ Peter T. Marchesi
                                                     Peter T. Marchei, Esq.
                                                     Attorney for Defendants
                                                     Wheeler & Arey, P.A.
                                                     27 Temple Street, P.O. Box 376
                                                     Waterville, ME 04903-0376
